                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JAMES L. PETERSON, on behalf                         )
of JAMIE PETERSON, a legally                         )         Case No. 1:15-cv-00969
incapacitated individual,                            )
                                                     )
                               Plaintiff,            )         Hon. Paul L. Maloney
                                                     )
v.                                                   )
                                                     )
DAVID HEYMES et al,                                  )
                                                     )
                               Defendants.           )

                                              ORDER

       This matter came before the Court upon the joint motion of the parties pursuant to Rule

62.1 of the Federal Rules of Civil Procedure, asking this Court to indicate its willingness to

accept the limited remand from the Court of Appeals and proceed to consider Plaintiff’s Agreed

Motion for Approval of Settlement Involving a Legally Incapacitated Individual.

       Having considered the parties’ motion and the entire record, the Court is of the opinion,

and so finds, that if the case is remanded to it by the Court of Appeals for the Sixth Circuit, it

will grant the relief requested.

       IT IS, THEREFORE, ORDERED BY THE COURT that if this case is remanded by

the Court of Appeals, this Court will grant the parties’ joint motion pursuant to Rule 62.1 of the

Federal Rules of Civil Procedure and proceed to consider Plaintiff’s Agreed Motion for

Approval of Settlement Involving a Legally Incapacitated Individual.


         ENTERED this       20th day of      September            18
                                                              , 20__.


                                                           /s/ Paul L. Maloney
                                                         Judge, United States District Court
